Case 7:18-cv-00263-GEC Document 1 Filed 06/08/18 Page 1 of 6 Pageid#: 1




                                              7:18cv263
Case 7:18-cv-00263-GEC Document 1 Filed 06/08/18 Page 2 of 6 Pageid#: 2
Case 7:18-cv-00263-GEC Document 1 Filed 06/08/18 Page 3 of 6 Pageid#: 3
Case 7:18-cv-00263-GEC Document 1 Filed 06/08/18 Page 4 of 6 Pageid#: 4
Case 7:18-cv-00263-GEC Document 1 Filed 06/08/18 Page 5 of 6 Pageid#: 5
Case 7:18-cv-00263-GEC Document 1 Filed 06/08/18 Page 6 of 6 Pageid#: 6
